OPINION — AG — QUESTION: THE AMERICAN ASSOCIATION OF SCHOOL ADMINISTRATORS WHICH HAD ITS 1954 MEETING IN ATLANTA, GA, AND ITS 1955 MEETING IN ST. LOUIS, MISSOURI. IN EFFECT, YOU REQUESTED THE OPINION OF THE AG AS TO WHETHER OR NOT IT WOULD BE LAWFUL FOR SCHOOL DISTRICTS FUND TO BE USED IN PAYING THE TRAVELING EXPENSES OF SCHOOL BOARD MEMBERS IN ATTENDING THE MEETINGS OF SUCH ASSOCIATIONS? — NEGATIVE (PER DIEM) CITE: 70 O.S.H. 4-22  (JAMES GARRETT)